          Case 2:14-cv-01542-KOB Document 8 Filed 09/02/14 Page 1 of 2                                   FILED
                                                                                                2014 Sep-02 PM 03:58
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

Martin Perrusquia,                            )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       CASE NO. CV-14- BE-1542-S
                                              )
El Poblano Mexican Restaurant, Inc.           )
and Fidel Castro                              )
                                              )
       Defendants.                            )


          Corporate Disclosure Statement of El Poblano Mexican Restaurant, Inc.

       Defendant, El Poblano Mexican Restaurant, Inc., files, pursuant to Fed. R. Civ. Proc. 7.1,

its disclosure statement stating that there is no parent corporation or any publicly held corporation

owning 10% or more of its stock or interests.



                                              /s/Lewis W. Page, Jr.
                                              LEWIS W. PAGE, JR.
                                              Attorney for Defendants El Poblano Mexican
                                              Restaurant, Inc. and Fidel Castro

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                               CM/ECF CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2014, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification to the following:

E. Nathan Harris, Esq.
Barber Harris, LLC
1560 Montgomery Highway, Suite 207
Birmingham, AL 35216

and I hereby certify that I have mailed by United States Postal Service the document to the following
non-CM/ECF participants:

None.

                                                /s/Lewis W. Page, Jr.
                                                Of Counsel




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